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                              EXHIBIT A
       Relevant E-Mail Correspondence with Diego MasMarques, Jr.
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  From: Aaron Greenspan aaron.greenspan@plainsite.org
Subject: Rule 26(f) Conference
   Date: March 26, 2024 at 7:39 AM
     To: Diego MasMarques, Jr. dmas5@protonmail.com

      Mr. MasMarques,

      We are required to have a Rule 26(f) initial disclosures conference between now and April 1 (21 days before the April 22 scheduling
      conference). Please let me know your availability. I think a telephone call would be easiest.

      You may want to hire an attorney.

      Aaron

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  From: Aaron Greenspan aaron.greenspan@plainsite.org
Subject: Re: Rule 26(f) Conference
   Date: March 27, 2024 at 5:29 PM
     To: Diego MasMarques, Jr. dmas5@protonmail.com

      Mr. MasMarques,

      I’m not sure what your plans are but I intend to comply with FRCP 26 and Civil Local Rule 16.1, and it appears that we can do this via
      e-mail.

      Nature and Basis of Claims

      The claims against you present are:

      Count I: libel per se
      Count IV: abuse of process
      Count V: malicious prosecution
      Count XII: civil conspiracy
      Count XIII: false light invasion of privacy
      Count XIV: intentional infliction of emotional distress

      I intend to ask the court to reconsider its dismissal of Count II under Mass. Gen. L. Chapter 258E. I also intend to potentially appeal
      the dismissal of claims against ComplaintsBoard.

      As you know, all of the above claims stem from your persistent harassment since 2017 and your posts on ComplaintsBoard and other
      gripe sites.

      Possibilities For Promptly Settling or Resolving The Case

      I am willing to discuss the settlement of all claims. You would need to pay for damages and costs, and you would also need to sign a
      written agreement that in summary would restrict you from ever posting anything about me, my family members, my friends, or any of
      their businesses, ever again. If you’d like to have that discussion, let me know.

      Rule 26(a)(1) Disclosures

      I intend to send you my initial disclosures within the next 30 days.

      Preserving Discoverable Information

      You should preserve all discoverable information including but not limited to e-mails, text messages, VPN logs, browser history
      involving ComplaintsBoard or any gripe site, browser history involving any site where my name or any of my friends', family members’,
      or any of their businesses' names were used or searched for, complaints to government authorities about the same, and
      correspondence in return. These are just examples of the types of documents you should preserve.

      Proposed Discovery Plan

      I plan to send you requests for admission, interrogatories, and requests for document production within the next 30 days. You should
      also expect that your videotaped deposition will be taken within the next 120 days.

      Local Rule 16.1 Joint Statement

      I do not think this case will require much in the way of discovery. I will endeavor to send you requests in the 30 days and you will have
      30 days to respond to them. That takes us 60 days out to the end of May. At that point, unless there is a need to conduct a second
      round of requests, which I doubt, I may still need to take your videotaped deposition, which might take us to the end of June. At that
      point I would anticipate filing for summary judgment. Ideally you will comply with your obligations and there will not be a need to file
      any motions to compel.

      Since at this stage neither of us are represented by counsel I do not think there is any way to calculate a budget except regarding the
      costs of a court reporter and videographer for a deposition. Alternatively, you could settle the case, and the only expense would be the
      cost of settlement.

      I am willing to consider non-binding mediation as an alternative to further litigation. You would need to pay for the cost of the mediator
      if that is something you would want to consider. It’s possible that the court has mediators that do not charge a separate fee.

      I do not anticipate a need for trial experts. I also do not anticipate the need for joinder of additional parties.

      My position is that you are 100% liable for damages and costs stemming from claims only against you and 50% liable for damages
      and costs stemming from claims against you and ComplaintsBoard.

      Conclusion
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If you would like to add anything to the above, please let me know. I would note that you are required to participate in this process, or
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  From: dmas5 dmas5@protonmail.com
Subject: Re: Rule 26(f) Conference
   Date: March 27, 2024 at 6:06 PM
     To: Aaron Greenspan aaron.greenspan@plainsite.org


       Mr. Greenspan,

       The only one in this case who has been doing persistent harassment, slandering, libel, extortion
       and threats is you and nobody else. I'm letting you know that every single slandering and
       libelous post that you have been uploading on the internet since 2016, that includes on
       GoogleGroups and so much more is in the hands of the Assistant Chief of Probation Jeffrey
       Smith at the First Circuit. Be my guest and contact, whenever you feel like it.
       Everything that you have been doing to myself and my immediate family is all documented and
       saved. So, I will be filing a counterclaim against you and Think Computer Corporation et al..

       Over the years, I have repeatedly asked you to cease and desist, by stop using any of my legal
       documents to slander, libel and harass myself and my family, but you never want to stop and
       use the First Amendment as your cover for these crimes. As I already stated to you, once your
       case against Elon was dismissed with prejudice in May of 2022, I sought Attorneys in California
       to sue you "et al", but once the Attorneys asked me who the other party was, being you, they
       wanted to run, as you are a well known vexatious litigant.

       Everything in Spain is completely expunged and this is all in the hands of the Assistant Chief of
       Probation since 2020. Everything you have been doing to me online with your website and
       uploading slanderious and libelous materials, by doxxing on myself and my family, where you
       have been altering pictures, and so much more is also in the hands of the FBI in Chelsea, MA
       and other Federal Agencies, which I will not let you which ones. Why don't you contact the FBI
       in Chelsea and see what they will tell you.

       I asked you in 2016 to do one simple thing, that was to leave me alone and remove the court
       documents, about the case from Spain from your website, but you refused and have even
       written online, that you are "The Judge on the Internet".

       After I file for my counterclaim and as you have advised me, I also advise you, that it's best that
       you start searching for a paid Attorney, as I will be suing you for monetary damages and I have
       a lot of witnesses, who will show up and testify against you and of course evidence.

       You alone have caused this back and forth nonsense since 2016, as you are seriously stubborn
       and think you know it all. You know nothing about what occurred in my case and my legal
       documents and personal information is none of your business. How do you think jurors will think
       of you, once they see all the evidence of your slander, libel, doxxing, harassment and so much
       more. Sending FOIA requests all over the place? That's not normal. You are a serious stalker,
       who needs to go see a Psychiatrist.

       You know exactly what you have been doing over the years, setting me up with two false
       criminal charges at the Marlborough, MA Court, that was finally dismissed on November 24
       2020 and then Expunged on February 9, 2021. After I called you on March 28, 2018 telling you
       that I was going to get Restraining Order against you, if your did not cease and desist with your
       harassment, you then went to the Santa Clara Superior Court to get one against me and
       perjured yourself and you know full well, that you had my father served and not me. You can lie
       all you want, as that seems that's all you do is lie to get your way, but the truth will come out in
       court.
       You are not the victim in this case, I am victim and you are the perpetrator of the above crimes
       and this will all come out to the public.
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Feel free to contact me anytime. I told you before, if you want to work things out, then we can,
but if you keep harassing and threatening me, then we will be before a jury trial and I can tell
you, that you will loose this case.

Diego



Sent with Proton Mail secure email.

On Wednesday, March 27th, 2024 at 8:29 PM, Aaron Greenspan <aaron.greenspan@plainsite.org> wrote:
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    Case 1:23-cv-10134-DJC Document 123-1 Filed 04/02/24 Page 7 of 11


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Subject: Re: Rule 26(f) Conference
   Date: March 27, 2024 at 6:34 PM
     To: Diego MasMarques, Jr. dmas5@protonmail.com

      Mr. MasMarques,

      I interpret your false and delusional tirade to mean that you will not cooperate in the Rule 26 or Civil Local Rule 16.1 processes.

      If you change your mind, you know how to reach me.

      Regards,

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  From: dmas5 dmas5@protonmail.com
Subject: Happy Birthday
   Date: March 31, 2024 at 12:57 PM
     To: Aaron Greenspan aaron.greenspan@plainsite.org



       Happy Birthday!


       Sent from Proton Mail for iOS
